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1 |MARCUS A, MANCINI, ESQ. (State Bar No.146905)

CHRISTOPHER BARNES, ESQ. (State Bar No. 206186)

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ARMANDO M. SOLORZANO, ESQ. (State Bar No. 282650) Superior Court of Californi
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7 \|Attorneys for Plaintiff ANTHONY COLLINS
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9

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES

10 B68 19821
11 |ANTHONY COLLINS, ) Case No.
)
12 Plaintiff, ) PLAINTIFF’S COMPLAINT FOR
) DAMAGES:
13 VS. )
) (1) FOR PERCEIVED AND/OR
14 ) PHYSICAL DISABILITY
) HARASSMENT,
15 JAMERISOURCEBERGEN CORPORATION; _ ) DISCRIMINATION AND
WORLD COURIER INC.; ) RETALIATION IN VIOLATION |
16 |land DOES 1 through 100, Inclusive, ) OF CALIFORNIA
) GOVERNMENT CODE §§12940
17 Defendants. ) ET SEQ. [FEHA];
3 |
18 ) (2) FOR HARASSMENT,
) DISCRIMINATION AND
19 ) RETALIATION IN VIOLATION
) OF CALIFORNIA
20 ) GOVERNMENT CODE
) §§12945.2 ET SEQ. [CFRA];
21 )
) (3) FOR VIOLATION OF LABOR
22 ) CODE §§232.5, 6310 AND 6400
) SEQ. [ [Unsafe HwVSnD F 4
23 ) Workplace/Violence]; a = ao Pp a
) <Fot RE
24 ) (4) FORVIOLATZGNDFESE4 FB
) CALIFORNI-AGLAHGR ‘cope =f *
25 ) §§1102.5 ET. S BOO fn
) [Whistleblower Statute}; a = = a
26 ) & i 2
) (6)  FORRETALIATION AND= & &
Wy ) WRONGFUL TERMINATION
1 ) IN VIOLATION OF PUBLIY 4
28 ) POLICY; e oO
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PLAINTIFF’S COMPLAINT FOR DAMAGES
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FOR DECLARATORY RELIEF
[Permanent Injunction
Requested];

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JURY TRIAL DEMANDED

UNLIMITED JURISDICTION:
CASE VALUE IN EXCESS OF
$25,000.00

Nee Ne Sone See” Neem” Soe” Nem” “ee” Seem” “Sener” “eee” Seem”

COMES NOW Plaintiff ANTHONY COLLINS (hereinafter referred to as “COLLINS”
or “Plaintiff ”) and complains against the above-named Defendants and for causes of action against
the Defendants, and each of them, alleges as follows:

I.
FIRST CAUSE OF ACTION
(For Perceived and/or Physical Disability
Harassment, Discrimination and Retaliation in Employment

[California Government Code §12940 et seq.]

Against All Defendants and DOES 1 Through 100, Inclusive)

1. At all times mentioned herein, Plaintiff was, and now is, an individual
residing in the County of Orange, State of California.

2. Plaintiff is informed and believes, and thereon alleges, that at all times relevant
herein, Defendant AMERISOURCEBERGEN CORPORATION (hereinafter referred to
collectively with all other Defendants as “Defendants”) were, and now are, valid businesses of
form unknown duly organized and existing under the laws of the State of California, having its
principal place of business in the County of Riverside, State of California.

3. Plaintiff is informed and believes, and thereon alleges, that at all times relevant
herein, Defendant WORLD COURIER INC. (hereinafter referred to collectively with all other
Defendants as “Defendants’”) were, and now are, valid businesses of form unknown duly organized
and existing under the laws of the State of California, having its principal place of business in the

County of Los Angeles, State of California.

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PLAINTIFF’S COMPLAINT FOR DAMAGES

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1 4. Plaintiff is ignorant of the true names and capacities, whether corporate, associate,
2 |/successor, alter ego, individual or otherwise, of Defendants sued herein as DOES 1 - 100,

3 Inclusive, and therefore sues said Defendants, and each of them, by such fictitious names. Plaintiff
4 |lwill seek leave of court to amend this Complaint to assert the true names and capacities of the

5 |[fictitiously named Defendants when the same have been ascertained. Plaintiff is informed and

believes, and thereon alleges, that each Defendant designated as “DOES” herein is legally

6
7 |jresponsible for the events, happenings, acts, occurrences, indebtedness, damages and liabilities
8 ||hereinafter alleged and caused injuries and damages proximately thereby to the plaintiff, as

9 |thereinafter alleged.

10 5. Plaintiff is informed and believes, and thereon alleges, that at all times relevant

1] |herein, each Defendant designated, including DOES 1-100, herein was the agent, managing agent,
12 ||principal, owner, partner, joint venturer, joint employer, special employer, client employer, labor
13 |\contractor, alter ego, representative, supervisor, manager, servant, employee and/or co-conspirator
14 |lof each of the other Defendants, and was at all times mentioned herein acting within the course and |
15 ||scope of said agency and employment, and that all acts or omissions alleged herein were duly

16 |lcommitted with the ratification, knowledge, permission, encouragement, authorization and consent
17 jjof each Defendant designated herein.

18 6. At all times herein mentioned, for close to four (4) years until Plaintiff's wrongful
19 ||termination on or about October 3, 2014, Plaintiff was employed as a Help Desk Support Specialist
20 |land Customer Representative by Defendants and DOES 1 through 100, Inclusive, and each of

21 ||them, who were also, at all times herein mentioned, Plaintiff's employers, managers and

22 |supervisors.

23 7. At all times hereinalleged, Plaintiff had the perceived and/or physical disability(s)
24 |lof head injuries, neck injuries, bilateral shoulder injuries, right knee injuries, associated conditions
25 |jand others.
26 8. Prior to, or on or about January 6, 2014, during work activity(s), Plaintiff notified
27 ||Defendant WORLD COURIER INC. that it was unsafe to adjust strap(s) on and/or strap a

28 {container that still had contents in it. Defendant WORLD COURIER INC. instructed and ordered

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PLAINTIFF’S COMPLAINT FOR DAMAGES

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1 {Plaintiff to do so anyways and, sure enough, Plaintiff was injured and suffered disability(s).

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2 9. On or about January 6, 2014, Plaintiff developed and/or aggravated and/or sustained

perceived and/or physical disability(s) including, but not limited to, head injuries, neck injuries,

bilateral shoulder injuries, right knee injuries, associated conditions and others.

10. _— Plaintiff placed Defendants, and each of them, on notice of Plaintiffs disability(s).

3
4
5
6 11. Plaintiff made and/or articulated a Worker’s Compensation claim(s), in or around
7 March 2014.

8 12. Plaintiff requested and/or was entitled to and/or was granted CFRA and/or other

9 |medical and/or other negotiated leave in order to recuperate and heal.

10 13. Plaintiffs physician(s) gave Plaintiff work restrictions including lifting, squatting
11 |jand bending restrictions.

12 14. Defendants, and each of them, represented to Plaintiff that they could not

13 |jaccommodate his restrictions, and Plaintiff's physician(s) placed Plaintiff on CFRA and/or other
14 |medical and/or other negotiated leave in order to recuperate and heal, through approximately

15 ||March 25, 2014.

16 15. Prior to June 16, 2014, Plaintiff sought to transfer employment to Defendant

17 | WORLD COURIER INC.’s partner company, Defendant AMERISOURCEBERGEN

18 }CORPORATION, and successfully transferred on or about June 16, 2014 as a Representative 1

19 (Customer Systems Support Specialist.

20 16. On or about October 3, 2014, Defendants, and each of them, retaliated against and
21 |lwrongfully terminated Plaintiff for the false and/or exaggerated and/or pretextual reason(s) that

22 |/Plaintiff had problems “resolving customer’s issues accurately and within allotted timeframes.”

23 17. Plaintiff is informed and believes, and thereon alleges, that Defendants, and each of
24 ||them, replaced Plaintiff with and/or kept and/or treated more favorably a non-disabled individual.
25 18. At all times hereinalleged, Plaintiff was a qualified disabled worker with one or

26 more perceived and/or physical disability(s), who could perform the essential duties of Plaintiff's
27 |ljob with or without an accommodation, and without causing harm to Plaintiff and/or Plaintiff's

28 ||fellow employees, and who was entitled to preferential reassignment.

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PLAINTIFF’S COMPLAINT FOR DAMAGES

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1 19. From January 2014, and continuing at least through October 3, 2014, and

2 ||continuing, Defendants and DOES 1 through 100, and each of them, discriminated, harassed, and

3 |retaliated against Plaintiff on the basis of Plaintiff's perceived and/or physical disability(s), by the

4 |\following continuous actions, and conduct, among others:

5 a. Failing to determine the extent of Plaintiff's disability(s) and how they could be

6 accommodated;

7 b. Failing to take any affirmative steps to inform Plaintiff of any job opportunities

8 within the company;

9 c. Failing to consider Plaintiff for and move Plaintiff into openings for which Plaintiff i
10 was qualified and could handle subject to Plaintiff's disability(s);
11 d. Failing to engage in a timely, good faith, interactive process with Plaintiff to
12 determine effective reasonable accommodations; !
13 €. On or about October 3, 2014, retaliating against and wrongfully terminating
14 Plaintiff for the false and/or exaggerated and/or pretextual reason(s) that Plaintiff
15 had problems “resolving customer’s issues accurately and within allotted
16 timeframes;”
17 f. Plaintiff is informed and believes, and thereon alleges, that Defendants, and each of
18 them, replaced Plaintiff with and/or kept and/or treated more favorably a non-
19 disabled individual;
20 g. Harassing, discriminating and retaliating against Plaintiff on the basis of Plaintiff's
21 perceived and/or disability(s), as hereinalleged;
22 h. Harassing, discriminating and retaliating against Plaintiff on the basis of Plaintiff
23 requesting and/or taking and/or being entitled to CFRA and/or other lawful medical
24 leave;
25 i, Failing to rehire and/or reemploy Plaintiff.
26 20. The acts and conduct of Defendants, and each of them, as aforesaid, was in
27 violation of California Government Code §12940 et seq. Said statutes impose certain duties upon
28 Defendants, and each of them, concerning harassment, discrimination and retaliation against
or

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PLAINTIFF’S COMPLAINT FOR DAMAGES

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1 |[persons, such as Plaintiff, on the basis of perceived and/or physical disability and the prohibition of | -

2 |perceived and/or physical disability harassment, discrimination and retaliation. Said statutes were

3 |lintended to prevent the type of injury and damage herein set forth. Plaintiff was, at all times

4 ||material hereto, an employee with a perceived and/or physical disability(s), and within the

5 ||protected class covered by California Government Code §12940, prohibiting perceived and/or

physical disability harassment, discrimination and retaliation in employment.

6

7 21. By the acts and conduct described above, Defendants, and each of them, in violation
8 lof said statutes, knew about, or should have known about, and failed to investigate and/or properly
9 jlinvestigate, prevent or remedy the perceived and/or physical disability harassment, retaliation and
10 |Idiscrimination. The acts of discrimination, retaliation and harassment described herein were

11 |Ilsufficiently pervasive so as to alter the conditions of employment, and created an abusive working
12 |lenvironment. When Plaintiff was harassed, discriminated against and retaliated against, Plaintiffs
13 |Iperceived and/or physical disability(s) and/or complaints about the unlawful conduct were a

14 |substantial factor motivating and/or motivating reasons in Defendants’ conduct.

15 22. The acts and conduct of Defendants, and each of them, as aforesaid, was in

16 |violation of California Government Code §12948, in that Defendants, and each of them, denied,

| 17 |laided, incited and conspired to deny and deprive Plaintiff of his right to have his workplace(s) (i.e.
18 |/business establishment) free of discrimination and retaliation based on his protected category of
19 |physical disability.

20 23. ‘Plaintiff filed timely charges and complaints of perceived and/or physical disability
21 |harassment, retaliation and discrimination with the California Department of Fair Employment and
22 ||Housing and has received Notice(s) of Right to Sue in a California Superior Court pursuant to

23 |\California Government Code §12965(b). Plaintiff has therefore exhausted Plaintiff's

24 |jadministrative remedies under the California Government Code. Attached hereto and incorporated

25 |herein as Exhibit “A” are said Complaints and by reference hereto are made a part hereof.
26 ||Attached hereto and incorporated herein as Exhibit “B” are said Right to Sue Notices and by
27 |\reference hereto are made a part hereof.

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PLAINTIFF’S COMPLAINT FOR DAMAGES

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24. By the aforesaid acts and conduct of Defendants, and each of them, Plaintiff has
been directly and legally caused to suffer actual damages pursuant to California Civil Code §3333
including, but not limited to, loss of earnings and future earning capacity, medical and related
expenses for care and procedures both now and in the future, attorneys fees, and other pecuniary
loss not presently ascertained, for which Plaintiff will seek leave of court to amend when
ascertained.

25. Asa direct and legal! result of the acts and omissions of Defendants, and each of
them, Plaintiff was rendered sick, sore, lame, disabled and disordered, both internally and
externally, and suffered, among other things, numerous internal injuries, severe fright, shock, pain,
discomfort and anxiety. The exact nature and extent of said injuries are not known to the plaintiff,
who will pray leave of court to insert the same when they are ascertaired. Plaintiff does not at this
time know the exact duration or permanence of said injuries, but is informed and believes, and
thereon alleges, that some of the said injuries are reasonably certain to be permanent in character.

26. As a further legal result of the acts and omissions of the Defendants, and each of
them, Plaintiff has been forced to incur expenses for medical care, X-rays, and laboratory costs
during the period of Plaintiffs disability, and is informed and believes, and thereon alleges, that
she will in the future be forced to incur additional expenses of the same nature, all in an amount
which is at present unknown. Plaintiff will pray leave of court to show the exact amount of said
expenses at the time of trial.

27. Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but
since said incidents has been unable to engage fully in Plaintiff’s occupation, and is informed and
believes, and thereon alleges, that Plaintiff will be incapacitated and unable to perform Plaintiff's
usual work for an indefinite period of time in the future, all to Plaintiffs damage in an amount
which is at present unascertained. Plaintiff will pray leave of court to show the total amount of
loss of earnings at the time of trial.

28. As a further direct and legal result of the acts and conduct of Defendants, as
aforesaid, Plaintiff has been caused, and did suffer, and continues to suffer severe and permanent

emotional and mental distress and anguish, humiliation, embarrassment, fright, shock, pain,

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PLAINTIFF’S COMPLAINT FOR DAMAGES

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discomfort and anxiety. The exact nature and extent of said injuries is presently unknown to

plaintiff, who will pray leave of court to assert the same when they are ascertained.

29. Plaintiff has been generally damaged in an amount within the jurisdictional limits of
this court.

30. The aforementioned acts of Defendants, and each of them, were wilful, wanton,

malicious, intentional, oppressive and despicable and were-done in wilful and conscious disregard
of the rights, welfare and safety of plaintiff, and were done by managerial agents and employees of
Defendants and DOES 1 through 100, and with the express knowledge, consent, and ratification of
managerial agents and employees of Defendants and DOES 1 through 100, thereby justifying the
awarding of punitive and exemplary damages in an amount to be determined at the time of trial.

31. As a result of the discriminatory acts of Defendants, and each of them, as alleged
herein, Plaintiff is entitled to reasonable attorneys’ fees and costs of said suit as specifically

provided in California Government Code § 12965(b).

Il.
SECOND CAUSE OF ACTION

(For Violation of the Family Rights Act

[California Government Code § 12945.2]
Against All Defendants and DOES 1 Through 100, Inclusive)
32. Plaintiff incorporates herein by reference Paragraphs 1 through 31 as though set
forth in full herein.

33. Plaintiff was an employee of Defendants who qualified for leave due to physical

and/or mental disability(s) pursuant to California Government Code §12945.2 et seq.
34. At all times herein mentioned, Defendants were “Employer[s]” within the

definition of Government Code §12945.2, in that Defendants regularly employed 50 or more

people and/or adhered and/or abided by CFRA and/or gave their employees equal or greater leave
protection than CFRA.

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PLAINTIFF’S COMPLAINT FOR DAMAGES

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1 35. Beginning in or around January 2014, and continuing at least through October 3,
2014, and continuing, Defendents and DOES 1 through 100, and each of them, denied and

2
3 |retaliated against Plaintiff for being entitled to and/or requesting and/or taking Plaintiff's Family
4

Rights and Family Care and Medical Leave, by the following actions, among others:

5 a. Defendants, and each of them, harassed, discriminated against and retaliated against
6 Plaintiff, as herzinalleged, in the terms and conditions of Plaintiff's employment;
7 b. Defendants and each of them, retaliated against Plaintiff because of Plaintiff's
8 entitlement and/or request and/or taking of the right to medical leave in violation of
9 Government Cade §12945.2 et seq. by, amongst others, failing to return Plaintiff to
10 work and/or terminating Plaintiff.
11 36. By the acts and conduct described above, Defendants, and each of them, in violation

12 |lof said statutes, knew about, oz should have known about, and failed to investigate and/or properly
13 |linvestigate, prevent or remedy the retaliation and discrimination in violation of the Family Rights
14 Act. The acts of discrimination described herein were sufficiently pervasive so as to alter the

15 |jconditions of employment, and created an abusive working environment. Plaintiffs request and/or
16 |/taking and/or right to take, Family Medical Leave, and/or Plaintiff's complaints about the unlawful
17 ||conduct were motivating reascns in Defendants’ conduct.

18 37. Plaintiff filed timely charges and complaints of retaliation, harassment and

19 |discrimination in violation of the Family Rights Act with the California Department of Fair

20 Employment and Housing pursuant to California Government Code §12965(b), permitting Plaintiff

21 |jto bring this legal action. Attached hereto and incorporated herein as Exhibit “A” are said
22 |tComplaints and by reference hereto are made a part hereof. Attached hereto and incorporated
23 |herein as Exhibit “B” are said Right to Sue Notices and by reference hereto are made a part hereof.
24 38. By the aforesaid acts and conduct of Defendants, and each of them, Plaintiff has
| 25 ||been directly and legally caused to suffer actual damages pursuant to California Civil Code §3333
6 including, but not limited to, loss of earnings and future earning capacity, medical and related
37 expenses for care and proceduzes both now and in the future, attorneys fees, and other pecuniary

'28 llloss not presently ascertained, for which Plaintiff will seek leave of court to amend when

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PLAINTIFF’S COMPLAINT FOR DAMAGES

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1 ascertained.
2 39. Asa direct and legal result of the acts and omissions of Defendants, and each of

3 |them, Plaintiff was rendered sick, sore, lame, disabled and disordered, both internally and

4 \externally, and suffered, among other things, numerous internal injuries, severe fright, shock, pain,
5 ||\discomfort and anxiety. The exact nature and extent of said injuries are not known to the plaintiff,
6 ||who will pray leave of court to insert the same when they are ascertained. Plaintiff does not at this
7 ||time know the exact duration or permanence of said injuries, but is informed and believes, and

8 ||thereon alleges, that some of the said injuries are reasonably certain to be permanent in character.
9 40. _ Asa further legal result of the acts and omissions of the Defendants, and each of
10 ||them, Plaintiff has been forced to incur expenses for medical care, X-rays, and laboratory costs

11 |\during the period of Plaintiff's disability, and is informed and believes, and thereon alleges, that
12 ||she will in the future be forced to incur additional expenses of the same nature, all in an amount

13 |}which is at present unknown. Plaintiff will pray leave of court to show the exact amount of said
14 liexpenses at the time of trial.

15 41. Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but
16 |since said incidents has been unable to engage fully in Plaintiff's occupation, and is informed and
17 ||believes, and thereon alleges, that Plaintiff will be incapacitated and unable to perform Plaintiffs

18 jjusual work for an indefinite period of time in the future, all to Plaintiff’s damage in an amount

19 |iwhich is at present unascertained. Plaintiff will pray leave of court to show the total amount of

20 jloss of earnings at the time of trial.

21 42. Asa further direct and legal result of the acts and conduct of Defendants, as

22 |jaforesaid, Plaintiff has been caused, and did suffer, and continues to suffer severe and permanent
23 |jemotional and mental distress and anguish, humiliation, embarrassment, fright, shock, pain,

24 |ldiscomfort and anxiety. The exact nature and extent of said injuries is presently unknown to

25 |plaintiff, who will pray leave of court to assert the same when they are ascertained.

26 43. Plaintiff has been generally damaged in an amount within the jurisdictional limits of
27 |\this court.

28 WW //

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PLAINTIFF’S COMPLAINT FOR DAMAGES

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44, The aforementioned acts of Defendants, and each of them, were wilful, wanton,
malicious, intentional, oppressive and despicable and were done in wilful and conscious disregard

of the rights, welfare and safety of plaintiff, and were done by managerial agents and employees of

Defendants and DOES 1 throuzh 100, and with the express knowledge, consent, and ratification of
managerial agents and employees of Defendants and DOES | through 100, thereby justifying the
awarding of punitive and exemplary damages in an amount to be determined at the time of trial.

45. As a result of tke discriminatory acts of Defendants, and each of them, as alleged

herein, Plaintiff is entitled to reasonable attorneys’ fees and costs of said suit as specifically

provided in California Government Code § 12965(b).
Ill.
THIRD CAUSE OF ACTION

(For Violation of Labor Code §§232.5, 6310 and 6400 et seq. [Unsafe Workplace/Violence]
Against All Defendants and DOES 1 -100, Inclusive)
46. Plaintiff incorporates herein by reference Paragraphs 1 through 45 of this Complaint
as though set forth in full herein.
47. Prior to, and in or around, January 2014, and continuing, Plaintiff made complaints
and/or protests and/or disclosuzes to Defendants, and each of them, of actual and/or potential

violations of California Labor Code §§232.5, 6310 and 6400, that Plaintiff and other employees

were being subjected to an unsafe workplace including, but not limited to, unsafe working
conditions consisting of potential workplace accidents and injuries.

48. On or about October 3, 2014, Defendants, and each of them, retaliated against and
wrongfully terminated Plaintiff for complaining about an unsafe work>lace including, but not
limited to, Plaintiff and other employees being subjected to an unsafe workplace including, but not
limited to, unsafe working conditions consisting of workplace accidents and injuries. When
Plaintiff was wrongfully terminated, Plaintiff's complaints of an unsafe workplace and unsafe
working conditions was a contributing factor and/or reason in Plaintiffs termination.
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PLAINTIFF’S COMPLAINT FOR DAMAGES

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- | 49. Defendants actions violated California Labor Code §§232.5, 6310 and 6400, which
2 prohibit retaliating, discriminating and/or wrongfully terminating an employee for that employee’s

3 ||refusal to participate in unsafe work practices and conditions and/or complaining about unsafe

4 |work practices and conditions.

5 50. By the aforesaid acts and conduct of Defendants, and each of them, Plaintiff has

6 ||been directly and legally caused to suffer actual damages pursuant to California Civil Code §3333
7 |lincluding, but not limited to, loss of earnings and future earning capacity, medical and related

8 |lexpenses for care and procedures both now and in the future, attorneys fees, and other pecuniary

9 |\loss not presently ascertained, for which Plaintiff will seek leave of Court to amend when

10 jlascertained.

11 51. As a direct and legal result of the acts and omissions of Defendants, and each of

12 |ithem, Plaintiff was rendered sick, sore, lame, disabled and disordered, both internally and

13 |jexternally, and suffered, among other things, numerous internal injuries, severe fright, shock, pain,
14 |ldiscomfort and anxiety. The exact nature and extent of said injuries are not known to the Plaintiff,
15 |jwho will pray leave of court ta insert the same when they are ascertained. Plaintiff does not at this
16 ||time know the exact duration cr permanence of said injuries, but is informed and believes, and

17 ||thereon alleges, that some of the said injuries are reasonably certain to be permanent in character.
18 52. Asa further legal result of the acts and omissions of the Defendants, and each of
19 ||them, Plaintiff has been forced to incur expenses for medical care, X-rays, and laboratory costs

20 |Iduring the period of Plaintiff's disability, and is informed and believes, and thereon alleges, that
21 |\she will in the future be forced to incur additional expenses of the same nature, all in an amount
22 |which is at present unknown. Plaintiff will pray leave of court to show the exact amount of said
23 |lexpenses at the time of trial.

24 53. Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but
25 |Ilsince said incidents has been unable to engage fully in Plaintiff's occupation, and is informed arid
26 |\believes, and thereon alleges, that Plaintiff will be incapacitated and unable to perform Plaintiff's
27 |fusual work for an indefinite period of time in the future, all to Plaintiff's damage in an amount

28 ||which is at present unascertained. Plaintiff will pray leave of court to show the total amount of

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PLAINTIFF’S COMPLAINT FOR DAMAGES

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| |lloss of earnings at the time of trial.
2 54. Asa further direct and legal result of the acts and conduct of Defendants, as

3 aforesaid, Plaintiff has been caused, and did suffer, and continues to suffer severe and permanent

4 |lemotional and mental distress and anguish, humiliation, embarrassment, fright, shock, pain,

5 Iidiscomfort and anxiety. The exact nature and extent of said injuries is presently unknown to

6 Plaintiff, who will pray leave of court to assert the same when they are ascertained.

7 55. Plaintiff has been generally damaged in an amount within the jurisdictional limits

8 lof this court.

9 56. The aforementioned acts of Defendants, and each of them, were wilful, wanton,

10 |Imalicious, intentional, oppressive and despicable and were done in wilful and conscious disregard
11 jlof the rights, welfare and safety of Plaintiff, and were done by managerial agents and employees of
12 ||Defendants, and each of them, and DOES 1 through 100, and with the express knowledge, consent,
13 jland ratification of managerial agents and employees of Defendants, and each of them, and DOES 1
14 |Ithrough 100, thereby justifying the awarding of punitive and exemplary damages in an amount to
15 ||be determined at the time of trial.

16 57. As aresult of the discriminatory acts of Defendants, and each of them, as alleged

17 |herein, Plaintiff is entitled to reasonable attorneys' fees and costs of said suit as specifically

18 provided in California Code Of Civil Procedure §1021.5.

19 IV.

20 FOURTH CAUSE OF ACTION

2] For Violation Of California Labor Code § 1102.5 (Whistle-Blower Statute)

22 Against all Defendants and DOES 1-100, Inclusive)

23 58. __ Plaintiff incorporates herein by reference Paragraphs 1] through 57 of this Complaint

24 |las though set forth in full herein.

25 59. Prior to, and in or around, January 2014, and continuing, Plaintiff made complaints
26 lland/or protests and/or disclosures to Defendants, and each of them, of actual and/or potential

27 |\violations of California Labor Code §§232.5, 6310 and 6400, that Plaintiff and other employees

28 |lwere being subjected to an unsafe workplace including, but not limited to, unsafe working

13
PLAINTIFF’S COMPLAINT FOR DAMAGES

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1 conditions consisting of potential workplace accidents and injuries.

2 60. Defendants, and each of them, believed that Plaintiff did or might disclose

3 |linformation to a law enforcement or government agency, or to a person with authority over

4 \Plaintiff or another employee who has the authority to investigate, discover, or correct the violation

5 lor noncompliance, or would provide information to, or testify before, any public body conducting

an investigation, hearing, or inquiry.

6
7 61. By the acts herein alleged and in violation of California Labor Code §1102.5,
8 |[Defendants, and each of them made, adopted, and enforced rules, regulations, and policies
9 jlincluding, but not limited to, Plaintiff's termination, preventing Plaintiff from disclosing

10 tinformation to government and law enforcement agencies, where Plaintiff had reasonable cause to
11 |believe that Plaintiff's employer, Defendants, were violating unsafe workplace and unsafe

12 Ilworkplace condition laws.

13 62. In retaliation for Plaintiff's disclosures to the Defendants that they were in violation
14 |lof the aforementioned laws, as herein alleged, Defendants, and each of them, instead wrongfully
15 }terminated Plaintiff in violation of California Labor Code §1102.5 on or about January 17, 2015.
16 When Plaintiff was terminated, Plaintiff's complaints of violations of State and/or Federal law was

17 ja contributing factor and/or reason in Plaintiff's termination.

18 63. By the aforesaid acts and conduct of Defendants, and each of them, has been

19 |idirectly and legally caused to suffer actual damages pursuant to California Civil Code §3333
20 jiincluding, but not limited to, lcss of earnings and future earning capacity, medical and related
21 |lexpenses for care and procedures both now and in the future, attorney's fees, and other pecuniary

22 ||loss not presently ascertained, for which plaintiff will seek leave of court to amend when

23 ascertained.

24 64. As a direct and legal result of the acts and omissions of Defendants, and each of

25 ||them, Plaintiff was rendered sick, sore, lame, disabled and disordered, both internally and

26 |lexternally, and suffered, among other things, numerous internal injuries, severe fright, shock, pain,
27 {discomfort and anxiety. The exact nature and extent of said injuries are not known to the plaintiff,

28 |lwho will pray leave of court to insert the same when they are ascertained. Plaintiff does not at this

14
PLAINTIFF’S COMPLAINT FOR DAMAGES

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1 j{time know the exact duration cr permanence of said injuries, but is informed and believes, and

2 |ithereon alleges, that some of the said injuries are reasonably certain to be permanent in character.
3 65. Asa further legal result of the acts and omissions of the Defendants, and each of
them, Plaintiff has been forced to incur expenses for medical care, X-rays, and laboratory costs

during the period of Plaintiffs disability, and is informed and believes, and thereon alleges, that

4
5

6 ||Plaintiff will in the future be forced to incur additional expenses of the same nature, all in an

7 |lamount which is at present unknown. Plaintiff will pray leave of court to show the exact amount
8 llof said expenses at the time of trial.

9 66. Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but
10 since said incidents Plaintiff has been unable to engage fully in Plaintiff's occupation, and is

11 |\informed and believes, and thereon alleges, that he will be incapacitated and unable to perform

12 |Plaintiff’s usual work for an indefinite period of time in the future, all to Plaintiff's damage in an
13 amount which is at present unascertained.. Plaintiff will pray leave of court to show the total

14 |amount of loss of earnings at the time of trial.

15 67. Asa further direct and legal result of the acts and conduct of Defendants, as

16 aforesaid, Plaintiff has been caused, and did suffer, and continues to suffer severe and permanent

17 emotional and mental distress and anguish, humiliation, embarrassment, fright, shock, pain,

18 discomfort and anxiety. The exact nature and extent of said injuries is presently unknown to

19 | Plaintiff, who will pray leave of court to assert the same when they are ascertained.
20 68. Plaintiff has been generally damaged in an amount within the jurisdictional limits of
21 |Ithis court.

22 69. The aforementioned acts of Defendants, and each of them, were wilful, wanton,

23 |malicious, intentional, oppressive and despicable and were done in wilful and conscious disregard
24 |jof the rights, welfare and safety of plaintiff, and were done by managerial agents and employees of
25 |\Defendants and DOES 1 through 100, and with the express knowledge, consent, and ratification of
26 managerial agents and employees of Defendants and DOES 1 through 100, thereby justifying the
27 |lawarding of punitive and exemplary damages in an amount to be determined at the time of trial.

28 I///

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PLAINTIFF’S COMPLAINT FOR DAMAGES

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1 70. As a result of the discriminatory acts of Defendants, and each of them, as alleged

herein, Plaintiff is entitled to reasonable attorneys’ fees and costs of said suit as specifically

2
3 |lprovided in California Code Of Civil Procedure § 1021.5.
4

V.
5 FIFTH CAUSE OF ACTION
6 (For Retaliation and Wrengful Constructive Termination in Violation of Public Policy
7 Against Defendants and DOES 1 -100, Inclusive) |
8 71. Plaintiff incorporates herein by reference Paragraphs 1 through 70 as though set
9 ||forth in full herein. '

10 72. Atall times herein mentioned, the public policy of the State of California, as

11 |jcodified, expressed and mandated in California Government Code §12940 was to prohibit

12 employers from discriminating, harassing, and retaliating against any individual based on

13 |[perceived and/or physical disability(s). This public policy of the State of California is designed to
14 |Iprotect all employees and to promote the welfare and well-being of the community at large.

15 Accordingly, the actions of Defendants, and each of them, in discriminating, retaliating and

16 |[terminating Plaintiff on the grcunds of stated above, or for complaining about such discrimination,
17 jiretaliation and harassment, was wrongful and in contravention and violation of the express public

18 jpolicy of the State of California, to wit, the policy set forth in California Government Code §12940

19 let seq., and the laws and reguletions promulgated thereunder.
20 73. At all times herein mentioned, the public policy of the State of California, as

21 |\codified, expressed and mandated in California Government Code §12945.2 was to prohibit

22 |lemployers from discriminating and retaliating against any individual based on their taking, |
23 |lrequesting or needing Family Medical Leave. This public policy of the State of California is

24 |ldesigned to protect all employees and to promote the welfare and well-being of the community at
25 |llarge. Accordingly, the actions of Defendants, and each of them, in discriminating, retaliating and
26 |lterminating Plaintiff on the grounds of stated above, or for complaining about such discrimination
27 and retaliation, was wrongful and in contravention and violation of the express public policy of the

28 ||State of California, to wit, the policy set forth in California Government Code §12945.2 et seq.,

16
PLAINTIFF’S COMPLAINT FOR DAMAGES

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1 |jand the laws and regulations promulgated thereunder.

2 74. Atall times herein mentioned, the public policy of the State of California, as

3 |codified, expressed and mandated in California Labor Code §§232.5, 6310 and 6400, was to

4 prohibit employers from discriminating against, retaliating against and terminating any individual
5 jon the grounds of their refusal to participate in unsafe work practices and conditions and/or

complaining about unsafe work practices and conditions or refusing to commit an unlawful act.

6
7 This public policy of the State of California is designed to protect all employees and to promote the
8 welfare and well being of the community at large. Accordingly, the actions of Defendants, and

9 jleach of them, in discriminating, harassing and retaliating and terminating Plaintiff on the grounds
10 jlalleged and described herein were wrongful and in contravention and violation of the express

11 |public policy of the State of California, to wit, the policy set forth in California Labor Code

12 |1§§232.5, 6310 and 6400, and the laws and regulations promulgated thereunder.

13 75.  Atall times herein mentioned, the public policy of the State of California, as

14 |lcodified, expressed and mandated in California Labor Code §1102.5, was to prohibit employers

15 ||from discriminating against, retaliating against and terminating any individual on the grounds of
16 |their complaining of unlawful activity [i.e. actual and/or potential violations of California Labor

17 ||Code §§232.5, 6310 and 6400, which prohibit retaliating, discriminating and/or wrongfully

18 ||terminating an employee for that employee’s refusal to participate in unsafe work practices and

19 |lconditions and/or complaining about unsafe work practices and conditions; or refusing to commit
20 |jan unlawful act]. This public policy of the State of California is designed to protect all employees
21 |land to promote the welfare and well being of the community at large. Accordingly, the actions of
22 |\Defendants, and each of them, in discriminating, harassing and retaliating and terminating Plaintiff
23 jon the grounds alleged and described herein were wrongful and in contravention and violation of
24 |Ithe express public policy of the State of California, to wit, the policy set forth in California Labor

25 }Code § 1102.5, et seq., and the laws and regulations promulgated thereunder.

26 76. Atall times herein mentioned, the public policy of the State of California, as
27 |\codified, expressed and mandated in California Labor Code §132a was to prohibit employers from

28 |\discriminating, harassing, and retaliating against any individual based on their making and/or

17
PLAINTIFF’S COMPLAINT FOR DAMAGES

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1 |larticulating a Worker’s Compensation claim(s). This public policy of the State of California is
2 |ldesigned to protect all employees and to promote the welfare and well-being of the community at
3 large. Accordingly, the actions of Defendants, and each of them, in discriminating, retaliating and

“4 terminating Plaintiff on the greunds of stated above, or for complaining about such discrimination,

5 |retaliation and harassment, wes wrongful and in contravention and violation of the express public

policy of the State of California, to wit, the policy set forth in California Labor Code §132a et seq.,

6

7 |jand the laws and regulations promulgated thereunder.

8 77. By the aforesaid acts and conduct of Defendants, and each of them, Plaintiff has

9 |/been directly and legally caused to suffer actual damages pursuant to California Civil Code §3333
10 |jincluding, but not limited to, less of earnings and future earning capacity, medical and related

11 |lexpenses for care and procedures both now and in the future, attorneys fees, and other pecuniary |
12 jlloss not presently ascertained, for which Plaintiff will seek leave of court to amend when

13 |jascertained.

14 78. As a direct and legal result of the acts and omissions of Defendants, and each of

15 |them, Plaintiff was rendered sick, sore, lame, disabled and disordered, both internally and

16 |lexternally, and suffered, among other things, numerous internal injuries, severe fright, shock, pain,
17 |\discomfort and anxiety. The exact nature and extent of said injuries are not known to the plaintiff,
18 |lwho will pray leave of court to- insert the same when they are ascertained. Plaintiff does not at this
19 |/time know the exact duration or permanence of said injuries, but is informed and believes, and

20 |Ithereon alleges, that some of tke said injuries are reasonably certain to be permanent in character.
21 79. Asa further legal result of the acts and omissions of the Defendants, and each of
22 ||them, Plaintiff has been forced to incur expenses for medical care, X-rays, and laboratory costs

23 |during the period of Plaintiff's disability, and is informed and believes, and thereon alleges, that
24 |/she will in the future be forced to incur additional expenses of the same nature, all in an amount
25 |lwhich is at present unknown. Plaintiff will pray leave of court to show the exact amount of said
26 |lexpenses at the time of trial.

27 W///

28 |\///

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PLAINTIFF’S COMPLAINT FOR DAMAGES

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1 80. Prior to the occurrence of the incidents, Plaintiff was an able-bodied individual, but
2 |lsince said incidents has been unable to engage fully in Plaintiffs occupation, and is informed and
3 believes, and thereon alleges, that Plaintiff will be incapacitated and unable to perform Plaintiffs

4 |jusual work for an indefinite period of time in the future, all to Plaintiff's damage in an amount

5 which is at present unascertained. Plaintiff will pray leave of court to show the total amount of

6 loss of earnings at the time of trial.

7 81. As a further direct and legal result of the acts and conduct of Defendants, as

8 jlaforesaid, Plaintiff has been caused, and did suffer, and continues to suffer severe and permanent

9 |iemotional and mental distress and anguish, humiliation, embarrassment, fright, shock, pain,

10 |idiscomfort and anxiety. The exact nature and extent of said injuries is presently unknown to

11 [iplaintiff, who will pray leave of court to assert the same when they are ascertained.

12 82. Plaintiff has been generally damaged in an amount within the jurisdictional limits of
13 IIthis court.

14 83. The aforementioned acts of Defendants, and each of them, were wilful, wanton,

15 }imalicious, intentional, oppressive and despicable and were done in wilful and conscious disregard
16 |lof the rights, welfare and safety of plaintiff, and were done by managerial agents and employees of
17 Defendants and DOES 1 through 100, and with the express knowledge, consent, and ratification of
18 |managerial agents and employees of Defendants and DOES 1 through 100, thereby justifying the
19 jjawarding of punitive and exemplary damages in an amount to be determined at the time of trial.

20 84, As a result of the discriminatory acts of Defendants, and each of them, as alleged

21 |fherein, Plaintiff is entitled to reasonable attorneys’ fees and costs of said suit as specifically

22 ||provided in California Code of Civil Procedure §1021.5.

23 VI.
24 SIXTH CAUSE OF ACTION
25 (For Declaratory Relief Against All Defendants and DOES 1 -100, Inclusive)
26 85. Plaintiff incorporates herein by reference Paragraphs 1 through 84 as though set
29 | forth in full herein.
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PLAINTIFF’S COMPLAINT FOR DAMAGES

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1 86. | Depending on the outcome of this lawsuit via dispositive motion and ruling and/or a
2 |Itrial and verdict in this matter, Plaintiff hereby requests this Court issue an affirmative and binding
3 |\Declaration of Rights and Duties pursuant to the recent ruling in Harris v. City of Santa Monica,

4 (2013) 56 C.4th 203, declaring that Defendants, and each of them, their successors, agents,

5 representatives, employees and all persons who acted alone, or in concert with said Defendants,
and each of them, committed acts and conduct of harassment, discrimination, retaliation, or other

6

7 |similar acts including, but not limited to, the violations alleged in all of the relevant Causes of
8 ||Action herein, and as proved and/or shown at the time of the ruling(s) and or verdict(s), and as
9

prohibited by the Fair Employment and Housing Act, California Government Code $§12900 -

10 |12996, and any other applicable laws, cases, codes, regulations and statutes.

11 87. At the time of the request for Declaratory Relief, there exists and/or will exist a
| 12 |Ipresent and actual controversy among the parties. .
| 13 88. This Complaint, and the relevant causes of action herein, specifically plead an

14 jlactual, present controversy, and the facts of the respective and underlying claims.

15 89. At the time of the request for Declaratory Relief, the facts of this case will have
| 16 |congealed to the point that the Court can determine issues and grant relief through Declaratory

17 |[Relief and issue a decree of a conclusive character, with the force and effect of a Final Judgment.
18 90. As a result of the wrongful acts of Defendants, and each of them, as alleged herein,
19 [Plaintiff requests that this Court issue an Order and Ruling permanently enjoining Defendants, and
20 |leach of them, their successors, agents, representatives, employees and all persons who acted alone,

21 lor in concert with said Defendants, and each of them, from committing acts and conduct of

22 |harassment, discrimination, retaliation, or other similar acts including, but not limited to, the |
23 [violations alleged in all of the relevant Causes of Action herein, and as proved and/or shown at the
24 |Itime of the ruling(s) and or verdict(s), and as prohibited by the Fair Employment and Housing Act,

25 ||California Government Code §§$12900 - 12996, and any other applicable laws, cases, codes,

26 regulations and statutes.
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28 |///

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PLAINTIFF’S COMPLAINT FOR DAMAGES

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1 91. Asaresult of the wrongful conduct of Defendants, and each of them, as alleged
2 |lherein, Plaintiff is entitled to reasonable attorneys’ fees and costs of said suit as specifically
3 [provided in California Government Code § 12965(b) and as specifically mentioned in Harris vy.
4 ||City of Santa Monica, (2013) 56 C.4th 203.
5 WHEREFORE, Plaintiff ANTHONY COLLINS, prays for judgment against the
6 ||Defendants, and each of them, as follows:
7 1. For general damages in an amount within the jurisdictional limits of this
8 Court;
9 2. For medical expenses and related items of expense, according to proof;
10 3. For loss of earnings, according to proof;
11 4. For loss of earning capacity, according to proof;
12 5. For reasonable attorneys’ fees and costs of said suit as specifically provided
13 in California Government Code §12965 (b), according to proof;
14 6. For reasonable attorneys’ fees and costs of said suit as specifically provided
! 15 in Califernia Code of Civil Procedure §1021.5, according to proof;
| 16 7. For a permanent injunction against Defendants, and each of them, their
17 successors, agents, representatives, employees end all persons who acted
18 alone, or in concert with said Defendants, and each of them, from
19 committing acts and conduct of harassment, discrimination, retaliation, or
20 other similar acts including, but not limited to, the violations alleged in all of
21 the relevant Causes of Action herein, and as proved and/or shown at the time
22 of the ruling(s) and or verdict(s), and as prohibited by the Fair Employment
23 and Housing Act, California Government Code §§12900 - 12996, and any
24 other applicable laws, cases, codes, regulations and statutes;
25 8. For reasonable attorneys’ fees and costs of said suit as specifically provided
26 in California Government Code § 12965(b) and as specifically mentioned in
22 Harris v. City of Santa Monica, (2013) 56 C.4th 203;
28 9. For prejudgment interest according to proof;
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21
PLAINTIFF’S COMPLAINT FOR DAMAGES

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1 10.‘ For punitive and exemplary damages, according to proof;

2 11. For costs of suit incurred herein; and

3 12. For such other and further relief as the court may deem just and proper.
4

5 ||Dated: May 5, 2016 MANCINI & ASSOCIATES

A Professional Law Corporation

: Wine Wr = i.

MARCUS A. MANCINI, ESQ.
Attorneys for Plaintiff
ANTHONY COLLINS

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PLAINTIFF’S COMPLAINT FOR DAMAGES

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